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                                                                        2021 Jan-20 PM 04:01
                                                                        U.S. DISTRICT COURT
                                                                            N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

CRM MOTORS, INC.,                     )
an Alabama Corporation;               )
                                      )
       Plaintiff,                     )
                                      )
vs.                                   ) Case No.:
                                      )
AMERICA’S AUTO AUCTION                )
BIRMINGHAM, INC., an Alabama          )
Corporation;                          )
PEGGY IVEY, an individual;            )
MCCLARY FORD                          )
LINCOLN-MERCURY, INC.;                )
an Illinois Corporation;              )   JURY TRIAL DEMANDED
ARDMORE AUTO SALES LLC,               )
an Alabama Limited Liability Company; )
STOGNER MANAGEMENT I, INC., )
a Georgia Corporation;                )
HOLLY AUTOMOTIVE, LLC,                )
an Alabama Limited Liability Company; )
                                      )
    Defendants.                       )



                              COMPLAINT



                           I. INTRODUCTION

  On or about April 17, 2019, Plaintiff CRM Motors, Inc., a Pelham, Alabama,

used   car   dealership,   purchased    a   2008   Ford    Explorer,   VIN

XXXXXXXXXXXX83037, from America’s Auto Auction Birmingham, Inc.
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located in Moody, Alabama. The auction sales documents, the vehicle’s odometer

and the title for the vehicle all stated the Ford Explorer had been driven

approximately 94,180 miles. Many months later, Plaintiff CRM Motors, Inc. found

out that the Ford Explorer actually had been driven in excess of 190,000+ miles

before CRM’s purchase.

   Months before CRM’s purchase, in January of 2019, Defendant McClary Ford

Lincoln Mercury of Athens, Alabama, bought the Ford Explorer from a customer

for $1,000.00 as a non-running, 190,000 mile, trade-in. After McClary Ford, the title

to the vehicle passed through three more automobile dealerships prior to CRM

Motor’s purchase at America’s Auto Auction. As part of the sales documents

provided to CRM by America’s Auto Auction, CRM Motors received a document

referred to as a “Secure Power of Attorney,” which falsely attested that the 2008

Ford Explorer had only been driven 93,840 miles. The “Secure Power of Attorney”

is a false document, and the signature on the document a forgery, but was

purportedly “witnessed” and notarized by America’s Auto Auction’s title clerk

Defendant Peggy Ivey.

   McClary Ford failed to make written disclosure of the vehicle’s mileage on the

vehicle title, contrary to the requirements of 49 U.S.C. §32705. Each and every

subsequent transfer of the vehicle stated a false odometer reading on the vehicle in

violation of 49 U.S.C. § 32703. All of these transfers were supported by the false


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document and forged signature notarized by America’s Auto Auction’s title clerk,

Peggy Ivey.

   49 U.S.C. 32703(4) provides that a person may not “conspire to violate this

section or section 32704 or 32705 of this title.” All Defendants named herein are and

were part of a conspiracy to sell a high-mileage vehicle disguised as a low mileage

vehicle in order to profit from the deception.

   Each Defendant named herein knowingly violated state and federal statutes

intended to document and preserve the mileage of the vehicle. All Defendants were

active participants in a scheme to make false representations as to the vehicle’s

mileage. Such practice was intended to defraud Plaintiff CRM Motors as well as

every future owner of the vehicle.

   Plaintiff CRM Motors requests this Court put an end to this deceptive and illegal

conduct. Plaintiff CRM Motors further requests the Court award Plaintiff damages

as set forth herein, and otherwise as the Court may deem appropriate.



                               II.   JURISDICTION


1. This is not a diversity action. Jurisdiction is proper under 28 U.S.C.A. §1331 and

given to district courts for “all civil actions arising under the Constitution, laws, or

treaties of the United States.” Such federal question jurisdiction may arise from the



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initial pleading or from subsequent motions, pleadings, or other papers where the

federal question is first able to be ascertained. 42 U.S.C.A. 1446(b).


2. Federal question jurisdiction arises from the initial pleading and Plaintiff’s

assertions for violations of the Federal Odometer Act, 49 U.S.C. §32701 et seq.


3. This Court has supplemental jurisdiction over related Alabama state law claims

asserted in this action pursuant to 28 U.S.C. §1367.


4. A jury trial is demanded pursuant to the 7th Amendment of the Constitution of

the United States, for all causes triable to a jury.



                                    III.    VENUE



5. Venue in this District is proper pursuant to 28 U.S.C. §1391 (b) and (c) because

one or more Defendants conduct business and/or maintains its principal place of

business in the Northern District of Alabama, and the wrongful conduct out of which

Plaintiff’s claims arise occurred within the Northern District of Alabama.

Additionally, Plaintiff resides within this District.




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                                  IV.    PARTIES

Plaintiff

6. Plaintiff CRM MOTORS, INC. is an Alabama corporation whose principal

     place of business is located in Pelham, Alabama, within the Northern District of

     Alabama.

Defendants


7. Defendant, AMERICA’S AUTO AUCTION BIRMINGHAM, INC.,

     hereinafter referred to as “America’s Auto Auction,” is an Alabama Corporation

     whose principal address is listed with the Alabama Secretary of State as 14951

     Dallas Parkway, Suite 200, Dallas, Texas 75254. America’s Auto Auction does

     business and conducts an auction at 1046 A.E. Moore Drive, Moody, Alabama

     35004. This is the auction location where the sale of the subject vehicle took

     place.


8.      Defendant, PEGGY IVEY, hereinafter referred to as “Ivey” is an individual,

     who through information and belief, resides within the Northern District of

     Alabama. Through information and belief, Ms. Ivey is a title clerk for

     AMERICA’S AUTO AUCTION BIRMINGHAM, INC., and performs her

     work for AMERICA’S AUTO AUCTION BIRMINGHAM, INC., at 1046

     A.E. Moore Drive, Moody, Alabama 35004.


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9. The Defendant MCCLARY FORD LINCOLN-MERCURY, INC., is an

      Illinois Corporation, which is in the business of selling new and used cars to the

      general public in Athens, Alabama.


10.      Defendant ARDMORE AUTO SALES LLC, is an Alabama Limited

      Liability Company, which is in the business of selling new and used cars, and

      owns and operates its dealership located in Ardmore, Alabama within the

      Northern District of Alabama.


11.      Defendant STOGNER MANAGEMENT I, INC., d/b/a LaGrange Toyota,

      is a Georgia Corporation, which is a new and used car dealership located in

      LaGrange, Georgia, and which purchased the subject vehicle from Defendant

      Ardmore Auto Sales LLC and sold the subject vehicle to Defendant Holly

      Automotive, LLC.


12.      Defendant, HOLLY AUTOMOTIVE, LLC, is an Alabama limited liability

      company, whose principal place of business is located in Pell City, Alabama,

      within the Northern District of Alabama.


13.      In doing the acts and omissions alleged in this Complaint, the Defendants,

      MCCLARY FORD LINCOLN-MERCURY, INC, ARDMORE AUTO SALES

      LLC, STOGNER MANAGEMENT I, INC., HOLLY AUTOMOTIVE, LLC,

      AMERICA’S AUTO AUCTION BIRMINGHAM, INC. and PEGGY IVEY,
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      conspired with and among other individuals and entities whose names are

      currently unknown, to engage in the conduct made the subject of this Complaint,

      and acted as agents of one another, pursuant to a common goal or scheme, to

      carry out the wrongful conduct and to conceal that conduct.


14.      As the principal of its employees and agents, the Defendants are liable to the

      Plaintiff for any and all damages suffered by the Plaintiff as a result of the

      unlawful acts of the Defendants’ employees. Furthermore, after receiving notice

      of the matter alleged herein, Defendants had a duty under the Code of Alabama,

      1975 32-8-1, et seq. and the Motor Vehicle Information Costs Savings Act also

      known as the Federal Odometer Act, 49 U.S.C. § 32701 et seq, to correct and

      remedy the alleged conduct in order to prevent further damage to the public.



                            V. FACTUAL ALLEGATIONS


15.      The Plaintiff, CRM Motors, is a licensed automobile dealership, located

      within the Northern District of Alabama, in business to sell good quality used

      automobiles to the general public. Plaintiff, as part of its normal routine business

      practice, purchases automobiles from auctions to add to its existing inventory.




                      Relevant history of the 2008 Ford Explorer:
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16.      Through information and belief, in January of 2019, Defendant McClary Ford

      Lincoln Mercury of Athens, Alabama, bought the 2008 Ford Explorer as a “trade-

      in” from a non-party customer for $1,000.00. The 2008 Ford Explorer trade-in

      had been driven approximately 190,000 miles, did not run, and was towed to

      McClary Ford.


17.      Through information and belief, McClary Ford had actual knowledge that the

      subject Ford Explorer’s odometer had been replaced, that the mileage on the

      odometer was incorrect, and that the true mileage was about 190,000 miles. This

      mileage is reflected on McClary Ford’s sales documents under which McClary

      Ford purchased the vehicle as a trade-in. A copy of McClary Ford’s “Bill of Sale”

      reflecting the 2008 Ford Explorer trade-in price and mileage is attached hereto as

      Exhibit A. McClary Ford failed to complete the portion of the reverse side of the

      title for the “Assignment of Title by Registered Owner” which was required to

      document the transfer of title from the non-party customer trading in the vehicle

      to McClary Ford. A copy of the front and reverse sides of the 2008 Ford Explorer

      Alabama Certificate of Title is attached as Exhibit B.


18.      Following McClary Ford’s purchase of the 2008 Ford Explorer, on or about

      February 1, 2019, McClary Ford sold the 2008 Ford Explorer to Defendant




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      Ardmore Auto. The title indicated the vehicle’s odometer read 93,840

      “ACTUAL” miles at the time of sale. See Exhibit B, reverse side of title.


19.      On or about February 5, 2019, the 2008 Ford Explorer vehicle was sold by

      Ardmore Auto to Defendant LaGrange Toyota in LaGrange, Georgia. The title

      indicates the vehicle’s odometer read 94,180 “ACTUAL” miles at transfer from

      Ardmore Auto to LaGrange Toyota. See Exhibit B, reverse side of title.


20.      On or about March 2, 2019, LaGrange Toyota of LaGrange, Georgia, sold the

      vehicle to Defendant Holly Automotive of Pell City, Alabama. The title indicates

      the vehicle’s odometer read 94,180 “ACTUAL” miles at the transfer from

      LaGrange Toyota to Holly Automotive. See Exhibit B, reverse side of title.


21.      As part of Defendants McClary Ford, Ardmore Auto, LaGrange Toyota and

      Holly Automotive’s routine course of business, it was common practice between

      dealerships to sell or transfer new vehicles without applying for a new Official

      Alabama Certificate of Title. This practice is accomplished by documenting the

      transfer as an assignment between dealers on the back of the original certificate

      of title supplied by the State of Alabama and the selling dealership.


22.      All aspects of Federal and State law regarding disclosures and mileage

      recording are applicable to transfers between dealerships. These practices are the

      same for all new and used car dealerships. In Alabama, motor vehicle dealers are
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      required to be licensed, and each automobile dealer is required to be trained and

      overseen as a title agent by the Alabama Department of Revenue as part of its

      compliance with the Uniform Certificate of Title and Anti-Theft Act.


23.      Despite its knowledge of the odometer replacement, discrepancy and the

      actual mileage on the vehicle, Defendant McClary Ford failed to fill out or

      complete the mileage disclosures on the 2008 Ford Explorer’s title document

      when it purchased the vehicle from its non-party customer as a trade-in.


24.      Defendant McClary Ford also either failed to fill out or complete the mileage

      disclosures on the 2008 Ford Explorer’s title document when it transferred the

      vehicle to Defendant Ardmore Auto, or it intentionally certified that the 2008

      Ford Explorer’s mileage was 93,840 miles at the time of transfer.


25.      McClary Ford also failed to indicate on the Ford Explorer’s title document

      that an odometer did not reflect the actual mileage on the vehicle. All of these

      acts and conduct by McClary Ford are, inter alia, violations of the Federal

      Odometer Act, 49 U.S.C. 32705(a), which requires a transferor to make

      disclosures regarding mileage and discrepancies be made on the face of the title.


26.      Liability under the Act also attaches to subsequent transferees, because a

      person acquiring a vehicle for resale is in violation of the Act if they accept an

      incomplete disclosure. 49 U.S.C. 32705(a).
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                       How Plaintiff acquired the 2008 Ford Explorer:


27.      On or about April 17, 2019, Plaintiff CRM’s representative went to Defendant

      America’s Auto Auction’s auction location in Moody, Alabama to view and

      potentially purchase additional automobiles to add to its existing sales inventory.


28.      While CRM’s representative was at Defendant America’s Auto Auction,

      CRM’s      representative    observed     a    2008     Ford     Explorer,    VIN

      XXXXXXXXXXXX83037, for sale. The mileage visible on the odometer was

      approximately 94,000 miles.       One of the key factors Plaintiff utilized in

      determining whether this vehicle qualified for purchase and resale was the

      mileage indicated on the odometer. Based in part on the Explorer’s odometer

      reading of approximately 94,000 miles, Plaintiff CRM Motors bid on and

      purchased the vehicle for $7,500.00 plus additional auction fees in the amount of

      $335.00, for a total price of $7,835.00. No title discrepancies were announced by

      America’s Auto Auction.


29.      Following CRM’s purchase of the Ford Explorer, America’s Auto Auction

      provided CRM title documents, including a State of Alabama “Certificate of Title


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      for a Vehicle,” title number 44135453 and an Alabama Department of Revenue

      Form MVT 5-7 “Affidavit of Correction to a Document To Support an

      Application for a Certificate of Title.” The title stated the Ford Explorer’s

      mileage was 94,180 miles on March 2, 2019. The affidavit stated the Ford

      Explorer’s mileage was 93,480 on January 30, 2019. The affidavit was witnessed

      and notarized by Peggy Ivey, a Notary Public for the State of Alabama. Through

      information and belief, Peggy Ivey, also known as Peggy Beth Ivey, is employed

      by America’s Auto Auction in Moody Alabama. A copy of the Form MVT 5-7

      “Affidavit of Correction” is attached hereto as Exhibit C.


30.      The purpose of Alabama Department of Revenue Form MVT 5-7 “Affidavit

      of Correction” is to correct a mistake or erroneous information on the vehicle’s

      title certificate. Alabama Regulation and Administrative Code § 810-5-75-.39

      requires:


          (2) If an assignment of title contains an error, Form MVT 5-7,
          Affidavit of Correction to a Document to Support an Application for
          Certificate of Title, must be completed to correct the assignment.

          (3) When the information shown on a certificate of title needs to be
          corrected, a new certificate of title is required. In order to have the
          corrected certificate of title issued, the owner must make application
          for a new certificate of title through a designated agent.

          Ala. Admin. Code § 810-5-75-.39



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31.      Plaintiff CRM Motors LLC was unaware of the mileage discrepancy when it

      purchased the subject 2008 Ford Explorer from America’s Auto Auction. At that

      time, Defendants Ardmore Auto Sales, Lagrange Toyota, Holly Automotive,

      America’s Auto Auction, and Peggy Ivey, each and all, had represented and

      certified that the mileage listed on the vehicle odometer was approximately

      94,000 miles, and the odometer was accurate. No mileage discrepancy was

      identified on any of the sales or title documents provided to the Plaintiff.


          The effect of improper, incomplete, and false mileage disclosures:


32.      Plaintiff relied upon the representations of McClary Ford, Ardmore Auto

      Sales, Lagrange Toyota, Holly Automotive, America’s Auto Auction and Peggy

      Ivey when viewing, and relying on, the mileage listed on the vehicle’s odometer,

      and by verifying, and relying on, the odometer mileage on the vehicle title

      executed by or for McClary Ford, Ardmore Auto, LaGrange Toyota, and Holly

      Automotive, and on the “Affidavit of Correction” signed and notarized by Peggy

      Ivey. Plaintiff relied upon said representations by purchasing the vehicle, placing

      the vehicle in its inventory, performing repairs on the vehicle, and reselling the

      vehicle to one of its customers. In reliance on the Defendants’ representations,

      Plaintiff represented to its customers, and to the general public, that the vehicle’s

      mileage as shown on the odometer was accurate, true, and correct. Such


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      representations by Plaintiff create and become part of its public image,

      foundation of public trust, and a measure of its integrity.


33.      By intentionally failing to represent the true mileage of the vehicle, filing a

      false affidavit regarding mileage disclosures, rolling back/replacing the odometer

      and misrepresenting the actual mileage on the vehicle, the Defendants were able

      to sell the vehicle at the higher price than its actual value. Had the Defendants

      noted the actual mileage on the disclosures, and not replaced or rolled back the

      odometer, Plaintiff would not have purchased the vehicle.


34.      Following an odometer rollback and false mileage disclosure, such as that set

      forth herein, every subsequent purchaser, including Plaintiff herein, becomes a

      victim of the Defendants’ misrepresentations because they are wholly unaware

      that the vehicle’s mileage, economic life, and value is substantially less than what

      is represented.


               How Plaintiff learned about the false mileage disclosures:


35.      On or about October 3, 2019, Plaintiff CRM Motors sold the 2008 Ford

      Explorer automobile to a third-party consumer. At the time of the sale, Plaintiff

      was unaware of the mileage discrepancy, and believed that the automobile’s

      odometer stating 94,395 miles indicated the vehicle’s actual miles.



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36.      A few months later, Plaintiff’s customer returned the Ford Explorer to the

      Plaintiff. At that time, Plaintiff’s customer asserted that he had discovered that

      the mileage on the vehicle was substantially more than what was identified in the

      sale by the Plaintiff. Plaintiff’s customer demanded that the Plaintiff buy the

      vehicle back. Only at this time did Plaintiff become aware of the odometer

      discrepancy.


37.      Through the aforedescribed conduct, Defendants were able to sell the vehicle

      at a higher price than its actual value by misrepresenting the true mileage of the

      vehicle and failing to disclose the known mileage discrepancy on the vehicle’s

      odometer. Had Defendants noted the actual mileage on its advertisements, sales

      documents, and the odometer disclosures, and informed CRM of the actual

      mileage, CRM would not have purchased the vehicle or would have only

      purchased the vehicle at a substantially lower price.


38.      In addition to damage to CRM Motors’ loss of its customer, its loss of

      apparent integrity and damage to its reputation, as a proximate result of the

      conduct of Defendants, CRM was caused to suffer loss of monies, loss of value

      of the vehicle, incidental and consequential damages. CRM Motors’ actual

      damages include, but are not limited to: (a) increased purchase costs; (b)




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      increased taxes; (c) repurchase from its customer; (d) increased repair costs; (e)

      additional costs; (f) costs of this action, and (g) attorney’s fees.



                              VI.    CAUSES OF ACTION



                                       COUNT ONE:

       VIOLATIONS OF THE MOTOR VEHICLE INFORMATION COST

  SAVINGS ACT - 49 U.S.C. 32701 et seq (FEDERAL ODOMETER ACT)

                                     - All Defendants -


39.       CRM Motors hereby incorporates and adopts each of the above and foregoing

      allegations and material averments as if fully set forth herein.


40.       As part of its routine course of business, and as mandated by federal and state

      law, including the Federal Odometer Act, codified at 49 U.S.C. 32701 et seq,

      automobile dealerships, auctions, and auction employees, such as McClary Ford,

      Ardmore Auto Sales, Lagrange Toyota, Holly Automotive, America’s Auto

      Auction and Peggy Ivey, and employees, members, and agents of said

      dealerships, including, but not limited to Defendants named herein, provide

      purchasers of the automobiles with an “Odometer Disclosure Statement”




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      certifying the accuracy of the odometer as well as the mileage on the vehicle at

      the time of transfer.


41.       From February 1, 2019 to present, McClary Ford and Ardmore Auto Sales

      knowingly and intentionally represented to the public at large, including the

      Plaintiff, and the State of Alabama, that the 2008 Ford Explorer made the subject

      of this action had been driven 93840 miles at the time of transfer from McClary

      Ford to Ardmore Auto Sales and that the subject vehicle’s odometer reading was

      correct. This representation was made in writing on the reverse side of the

      Alabama Certificate of title, title number 44135453, and acknowledged by the

      signatures of Dana Holloway of McClary Ford and Adam Mullins of Ardmore

      Auto Sales


42.       From February 5, 2019 to present, Ardmore Auto Sales and Lagrange Toyota

      knowingly and intentionally represented to the public at large, including the

      Plaintiff, and the State of Alabama, that the 2008 Ford Explorer made the subject

      of this action had been driven 94,180 miles at the time of transfer from Ardmore

      Auto Sales to LaGrange Toyota. This representation was made in writing on the

      reverse side of the Alabama Certificate of title, title number 44135453, and

      acknowledged by Adam Mullins of Ardmore Auto Sales and Bart Phillips of

      LaGrange Toyota.


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43.       On March 2, 2019 through to the present date, Lagrange Toyota and Holly

      Automotive knowingly and intentionally represented to the public at large,

      including the Plaintiff, and the State of Alabama, that the 2008 Ford Explorer

      made the subject of this action had been driven 94,180 miles at the time of

      transfer from LaGrange Toyota to Holly Automotive. This representation was

      made in writing on the reverse side of the Alabama Certificate of title, title

      number 44135453, and acknowledged by Bart Phillips of LaGrange Toyota and

      Dawn Hackworth of Holly Automotive.


44.       On or about April 19, 2019, Peggy Ivey, acting individually and as an agent

      of both America’s Auto Auction and Holly Automotive, signed, acknowledged

      and notarized the state of Alabama form MVT 5-7 “Affidavit of Correction to a

      Document To Support an Application for Certificate of Title”, stating the mileage

      was “93840.” Greg Willingham did not sign this document. Peggy Ivey did not

      witness Greg Willingham sign this document. Greg Willingham’s signature on

      the application is a forgery of his signature. Peggy Ivey’s “acknowledgement” of

      Greg Willingham’s signature is a fraud.


45.       McClary Ford and its employee or agents failed to certify and/or state the

      mileage on the 2008 Ford Explorer’s title at the time of its transfer to Ardmore

      Auto Sales. McClary Ford had actual knowledge that the vehicle’s actual mileage


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      at the time of the sale to Ardmore Auto Sales was unknown and through

      information and belief, was more than 190,000 miles. The odometer disclosures

      and statements created and executed by McClary Ford were (a) incomplete; (b)

      did not state the vehicle’s mileage; and, (c) did not indicate the mileage

      discrepancy known to McClary Ford.


46.      McClary Auto Sales violated the Federal Odometer Act, 49 U.S.C. §32705,

      “Disclosure requirements on transfer of motor vehicles,” by failing to make

      proper and required odometer disclosures. 49 U.S.C. 32705(a) requires that (A)

      the cumulative mileage on the odometer be disclosed, and (B) any discrepancy

      in the odometer reading be disclosed.


47.      By its conduct as set forth herein, Ardmore Auto, LaGrange Toyota, Holly

      Automotive, America’s Auto Auction, and Peggy Ivey, with intent to defraud, all

      certified mileage that was known, or should have been known, by these

      Defendants to be unknown, inaccurate and/or false. America’s Auto Auction and

      Peggy Ivey forged signatures, falsely acknowledged signatures and created false

      documents and affidavit for the purpose of certifying the subject vehicle’s

      mileage to be approximately 94,000 miles rather than the unknown and

      approximately 190,000 miles the vehicle really had been driven. Due to these




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      Defendants’ combined fraudulent conduct, CRM Motors was induced to

      purchase the vehicle.


48.       All Defendants violated federal laws that required each of them to accurately

      disclose the odometer reading at the time of each sale.


49.       McClary Ford, Ardmore Auto, LaGrange Toyota, Holly Automotive,

      America’s Auto Auction, Peggy Ivey, and other Defendants whose identities are

      unknown to Plaintiff at this time, by its, their, his and/or her conduct, and acting

      in concert and/or individually, willfully, and with the intent to defraud, violated

      the Federal Odometer Act in at least one or more of the following respects:


         a.         In making odometer disclosures, each and every Defendant made

         incomplete and/or false statements on the disclosure, and/or gave false

         statements to a transferee, Plaintiff CRM Motors, in violation of 49 U.S.C.

         §32705(a) and 49 C.F.R. §580.4;


         b.         Defendants failed to provide a correct disclosure to CRM Motors,

         pursuant to 49 U.S.C. §32705;


         c.         Defendants altered, or caused to be altered, the odometer of the

         automobile with the intent to change the number of miles indicated;




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      d. Other violations of the Federal Odometer Act, or a regulation prescribed or

      order issued under the Act;


      e. In all matters relating to the subject vehicle, Defendants’ actions and

      representations were made with intent to defraud.



50.   As a result of the above violations of the Federal Odometer Act, Defendants

are liable to CRM Motors pursuant to 49 U.S.C. § 32710 for the greater of three-

time actual damages or $10,000.00, plus attorney’s fees and costs.



51.   Plaintiff CRM Motors prays that the Court will award statutory damages as

outlined above, as well as compensatory damages in an amount a jury deems

appropriate to compensate CRM Motors for its actual damages, loss of monies,

incidental and consequential damages, attorney’s fees and costs of this proceeding

as well as punitive damages to deter such conduct in the future.



                                 COUNT TWO:

      FRAUD/MISREPRESENTATION/FRAUDULENT SUPRESSION

                                - All Defendants –




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52.    Plaintiff hereby incorporates and adopts each of the above and foregoing

allegations as if fully set forth herein.


53.    From February 1, 2019 to present, McClary Ford and Ardmore Auto Sales

knowingly and intentionally represented to the public at large, including the

Plaintiff, and the State of Alabama, that the 2008 Ford Explorer made the subject of

this action had been driven 93,840 miles at the time of transfer from McClary Ford

to Ardmore Auto Sales and that the subject vehicle’s odometer reading was correct.

This representation was made in writing on the reverse side of the Alabama

Certificate of title, title number 44135453, and acknowledged by the signatures of

Dana Holloway of McClary Ford and Adam Mullins of Ardmore Auto Sales


54. From February 5, 2019 to present, Ardmore Auto Sales and Lagrange Toyota

knowingly and intentionally represented to the public at large, including the

Plaintiff, and the State of Alabama, that the 2008 Ford Explorer made the subject of

this action had been driven 94180 miles at the time of transfer from Ardmore Auto

Sales to LaGrange Toyota. This representation was made in writing on the reverse

side of the Alabama Certificate of title, title number 44135453, and acknowledged

by Adam Mullins of Ardmore Auto Sales and Bart Phillips of LaGrange Toyota.


55.    On March 2, 2019 through to the present date, Lagrange Toyota and Holly

Automotive knowingly and intentionally represented to the public at large, including

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the Plaintiff, and the State of Alabama, that the 2008 Ford Explorer made the subject

of this action had been driven 94180 miles at the time of transfer from LaGrange

Toyota to Holly Automotive. This representation was made in writing on the reverse

side of the Alabama Certificate of title, title number 44135453, and acknowledged

by Bart Phillips of LaGrange Toyota and Dawn Hackworth of Holly Automotive.


56.   On or about April 19, 2019, Peggy Ivey, acting individually and as an agent

of both America’s Auto Auction and Holly Automotive, signed, acknowledged and

notarized the state of Alabama form MVT 5-7 “Affidavit of Correction to a

Document To Support an Application for Certificate of Title”, stating the mileage

was “93840.” Greg Willingham’s signature on the application is a forgery of his

signature. Greg Willingham did not sign this document. Peggy Ivey did not witness

Greg Willingham sign this document. Peggy Ivey’s “acknowledgement” of Greg

Willingham’s signature is a fraud.


57.   Through these misrepresentations, non-disclosures, suppressions, and/or

omissions of the actual title and mileage status and condition of the vehicle, McClary

Ford, Ardmore Auto, LaGrange Toyota, Holly Automotive, America’s Auto

Auction, Peggy Ivey, and other Defendants whose identities are unknown to Plaintiff

at this time, by its, their, his and/or her conduct, and acting in concert and/or

individually, caused Plaintiff CRM Motors to pay a higher purchase price for the


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vehicle, suffer other costs and damages, and other incidental and consequential

damages, to its detriment.


58.   Said representations were false. McClary Ford, Ardmore Auto, LaGrange

Toyota, Holly Automotive, America’s Auto Auction, and Peggy Ivey knew the

representations were false at the time they were made, and either: a) intentionally

and willfully made said representations; b) recklessly or negligently made said

representations, thereby causing CRM Motors to reasonably rely upon them; or, c)

innocently or mistakenly made said representations all in such a way to cause CRM

Motors to reasonably rely upon the representations.


59.   Defendants McClary Ford, Ardmore Auto, LaGrange Toyota, Holly

Automotive, America’s Auto Auction, and Peggy Ivey, further misrepresented that

the odometer cluster had not been replaced, was working properly, the mileage could

be certified, and the mileage displayed on the odometer was true and correct.


60.   Through this non-disclosure of the actual title and mileage status and

condition of the vehicle, all Defendants caused Plaintiff to pay a higher purchase

price, suffer other increased costs, and other incidental and consequential expenses,

to its detriment. Furthermore, even after said misrepresentations were brought to the

attention of McClary Ford, Ardmore Auto, LaGrange Toyota, and Holly




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Automotive, rather than correcting the misrepresentation, they ratified and endorsed

the conduct described herein.


61.   Furthermore, by its conduct in withholding and continuing to withhold the

proper disclosures under Alabama and Federal law even after being made aware of

the discrepancy as outlined above, withholding information concerning the vehicle’s

prior mileage, and withholding information when it was under a duty to speak

truthfully and fully, Defendants willfully, recklessly, innocently misrepresented

and/or fraudulently suppressed material information, which had that information been

available to the Plaintiff at the time of sale, would have resulted in the Plaintiff not

purchasing the vehicle.


62.   Plaintiff reasonably relied upon said representations by purchasing the

vehicle.   Plaintiff also reasonably relied upon these representations by incurring

expenses and costs consistent with exercising ownership rights in the vehicle,

making repairs to the vehicle, and reselling the vehicle to a third party.


63.   As a proximate result of the conduct of the Defendants, the Plaintiff, CRM

Motors, was caused to suffer loss of monies, incidental and consequential damages,

including but not limited to: a) increased purchase costs; b) increased taxes; c)

Increased finance costs; d) Increased insurance costs; e) Increased repair costs; f)

repurchase from its customer; g) as well as additional costs, plus attorney’s fees.

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64.   WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that the Court

will award damages in an amount a jury deems appropriate to compensate the

Plaintiff for its actual damages including loss of monies, incidental and

consequential damages, attorney’s fees and costs of this proceeding as well as

punitive damages to deter such conduct in the future.


               COUNT THREE: WANTONESS/NEGLIGENCE


                                 - All Defendants -


65.   Plaintiff CRM Motors hereby incorporates and adopts each of the above and

foregoing allegations and material averments as if fully set forth herein.


66.   All Defendants owed Plaintiff, and each and every future purchaser of the

subject vehicle, and the general public at large, a duty not to be wanton/negligent in

their conduct relative to subject 2008 Ford Explorer’s title and odometer. All

Defendants owed CRM Motors a duty to make truthful representations as to the

vehicle’s odometer and mileage. Defendants owed CRM Motors a duty in not

engaging in or allowing its agents to engage in the wrongful practices herein alleged,

in not misrepresenting, suppressing or concealing such activities, or enabling its

agents to do so, and violate state and federal regulations and statutes, including, but

not limited to: (a) Uniform Certificate of Title and Anti-Theft Act Code of Alabama

1975 §32-8-1, et seq; and, (b) the Federal Odometer Act, 49 USC § 32701 et seq.
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67.   As described herein, Defendants, singularly, in concert, and/or by and through

its agents, employees, owners, members, managers and/or officers, willfully and

wantonly violated the above state and federal statutes and regulations and/or ratified

or adopted the conduct after the fact, which includes, but is not limited to,

Defendants’ representations to the public at large, including CRM Motors, that the

subject vehicle had been driven approximately 94,000 miles at the time of

acquisition by CRM Motors and that there were no odometer discrepancies.


68.     Defendants owed CRM Motors a duty not to be wanton, negligent and/or

reckless in its conduct both before and after the sale of the vehicle, as described

herein, including, but not limited to, the following conduct:


         a.    Misrepresenting the mileage on the vehicle;


         b.    Failing to comply with state and federal laws, including, inter alia,

         regulations regarding vehicle odometer disclosures.


         c.    Other conduct inconsistent with Defendants’ obligations and duties

         under the contract.


69.   Defendants America’s Auto Auction and Peggy Ivey were further negligent

in its and her forgery of signatures, creation of false documents and false

acknowledgements and notarizations.


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70.   Defendants’ conduct constitutes negligent, wanton, reckless, and/or

“negligence per se” breaches of the duties owed to CRM Motors. Such breaches

arose out of the conduct of the Defendants, and those who acted in concert or

conspiracy with it, or acted as its agents, servants or employees, while in the line and

scope of its business, and its contractual and statutory duties to CRM Motors in order

to preserve and protect the financial interest of Defendants.


71.   By its, her, and their conduct, the Defendants breached said duties to CRM

Motors and were reckless, wanton, and/or negligent.


72.   As a proximate result of the conduct of the Defendants, CRM Motors was

caused to suffer loss of monies, incidental and consequential damages, including but

not limited to: a) Increased purchase costs; b) increased taxes; c)           increased

finance costs; d) increased insurance costs; e) increased repair costs; f) loss of

value; g) As well as additional costs, plus attorney’s fees.


73.   CRM Motors prays that the Court award damages in an amount a jury deems

appropriate to compensate CRM Motors for its actual damages, loss of monies,

incidental and consequential damages, damages, attorney’s fees, and costs of this

proceeding as well as punitive damages to deter such conduct in the future.




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      COUNT FOUR: FRAUDULENT SUPPRESSION/CONCEALMENT


                                  -All Defendants -


74.    CRM Motors adopts and incorporates all preceding paragraphs as if fully

stated herein.


75.    When purchasing an automobile, buyers such as CRM Motors must trust all

person(s) and entities in the chain of title of the vehicle, including McClary Ford,

Ardmore Auto, LaGrange Toyota, and Holly Automotive, to provide good-faith and

truthful information on the title disclosures, during the title disclosure process, and

to honestly handle its/their duties under applicable federal and state statutes, as well

as the duties owed as a designated title agent for the State of Alabama. These duties

are implied in the transaction and required by law.


76.    McClary Ford, Ardmore Auto, LaGrange Toyota, and Holly Automotive, as

a routine practice in the process of executing odometer disclosure documents, hid

and/or withheld important facts from CRM Motors, including, without limitation,

the actual vehicle mileage, the fact that the vehicle’s odometer was not accurate, and

Defendants’ suppression of same.


77.    CRM Motors was harmed because McClary Ford, Ardmore Auto, LaGrange

Toyota, Holly Automotive, America’s Auto Auction and Peggy Ivey hid or withheld


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these important facts from CRM Motors regarding the vehicle. It was the intention

of McClary Ford, Ardmore Auto, LaGrange Toyota, Holly Automotive, America’s

Auto Auction and Peggy Ivey that these facts be secret, concealed, hidden, and

undisclosed, in order that McClary Ford, Ardmore Auto, LaGrange Toyota, Holly

Automotive, America’s Auto Auction and Peggy Ivey’s scheme and pattern and

practice of selling vehicles with false mileage certifications, creating false

documents and forging signatures selling vehicles with undisclosed inaccurate

odometers continue without detection, for the purpose of increasing profit.


78.   McClary Ford, Ardmore Auto, LaGrange Toyota, Holly Automotive,

America’s Auto Auction and Peggy Ivey and McClary Ford, Ardmore Auto,

LaGrange Toyota, Holly Automotive, America’s Auto Auction and Peggy Ivey’s

agents and employees hid and suppressed the fact, during and after the transaction

for the sale of the subject vehicle, that the vehicle’s real mileage was not as set forth

on the disclosures, or as disclosed to CRM Motors. This was accomplished through

the forging of signatures, the misrepresentations of McClary Ford, Ardmore Auto,

LaGrange Toyota, Holly Automotive, America’s Auto Auction and Peggy Ivey to

CRM Motors, as well as misuse and abuse of Defendants’ status as designated title

agents.


79.   Defendants had a duty to disclose these facts to CRM Motors, as Defendants,


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and its, her and their agents, employees, officers, members, owners and/or managers,

were automobile dealers, acting and appointed as designated title agents for the state

of Alabama, and required to abide by state and federal laws.


80.   The facts withheld by McClary Ford, Ardmore Auto, LaGrange Toyota, Holly

Automotive, America’s Auto Auction and Peggy Ivey were material to CRM

Motors.   CRM Motors would not have executed the purchase and financing

documents and purchased the vehicle, had it known that McClary Ford, Ardmore

Auto, LaGrange Toyota, Holly Automotive, America’s Auto Auction and Peggy

Ivey, and its, her, and their agents, and/or its employees, had withheld these material

facts from CRM Motors.


81.   McClary Ford, Ardmore Auto, LaGrange Toyota, Holly Automotive,

America’s Auto Auction and Peggy Ivey, its agents, and/or its employees and the

individuals named herein withheld these material facts to induce CRM Motors to

execute sales, titling, and financing documents, and purchase the subject vehicle for

an unlawfully inflated sales price. CRM Motors executed the sale without

knowledge of these material facts because Defendants concealed such facts from

CRM Motors.


82.   As a direct and proximate result of the fraudulent concealment by McClary

Ford, Ardmore Auto, LaGrange Toyota, Holly Automotive, America’s Auto

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Auction and Peggy Ivey, and Defendants’ agents and/or employees, CRM Motors

was caused to suffer loss of monies, incidental and consequential damages, including

but not limited to: a) Increased purchase costs; b) Increased taxes; c) Increased

finance costs; d) Increased insurance costs; e) Increased repair costs; f) Loss of

value; g) Additional costs, plus attorney’s fees.


83.   CRM Motors requests that this court award damages in an amount appropriate

to compensate him for his damages, loss of monies, incidental and consequential

damages, in an amount to be determined by a struck jury, plus punitive damages,

attorney’s fees, and costs of this proceeding.


           COUNT FIVE: BREACH OF EXPRESS WARRANTIES


                                 - All Defendants -


84.   Plaintiff adopts and re-alleges all of the material allegations and averments

contained in the above and foregoing paragraphs as if fully set forth herein.


85.   Prior to CRM’s purchase of the subject 2008 Ford Explorer, Defendants

offered express warranties on the face of the certificate of title and the vehicle

including but not limited to: that the mileage recorded on the Alabama Certificate of

Title was the correct mileage, that the vehicle’s mileage was approximately 94,000

miles at the time of CRM Motors’ purchase of the vehicle at America’s Auto


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Auction, and that the disclosures contained on the sales documents were true and

correct. Defendants also expressly warranted that the vehicle had only been driven

94,180 miles.


86.   Plaintiff is part of the class of persons intended to be the third-party

beneficiaries of the representations made by the Defendants on the Certificate of

title. By its conduct, Defendants breached express warranties to the Plaintiff,

including, but not limited to, those set forth in Uniform Commercial Code § 2-312

and § 2-313, and the codification of same under the Code of Alabama § 7-2-312

and § 7-2-313.


87.   As a proximate result, the Plaintiff has been caused to suffer loss of monies,

incidental and consequential damages, loss of value to the vehicle, additional costs

incurred with replacing/repurchasing the vehicle, costs plus attorney’s fees.


88.   WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that this court

will award damages in an amount appropriate to compensate it for its loss of

monies, incidental and consequential damages, in an amount to be determined by

a struck jury plus attorney’s fees and costs of this proceeding.


                     COUNT SIX: UNJUST ENRICHMENT


                                 - All Defendants -


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89.   Plaintiff adopts and incorporates all preceding paragraphs as if fully set out

herein.


90.   Defendants have received a benefit at the expense of Plaintiff. By altering the

odometer mileage and other practices alleged in this Complaint, Defendants received

unlawfully inflated profits on its sale to Plaintiff.


91.   Defendants intended to and have benefited from the unlawful scheme by,

among other things, selling vehicles to buyers with inaccurate mileage reading and

rolled-back odometers, increasing profits from fraudulently inflated sales prices or

vehicle values, and receiving additional profits from the sale thereof.


92.   It is unjust and inequitable to permit Defendants to retain the benefits they

have obtained through its unlawful scheme by means of violating state and federal

statutes, false pretenses, representations or promises. The financial benefits obtained

by Defendants should not, in fairness, be retained by them but rather should be paid

and returned to Plaintiff.


93.   As a direct and proximate result of the inequitable conduct by Defendants, its

agents, and/or its employees, the Plaintiff was caused to suffer loss of monies,

incidental and consequential damages, including but not limited to: a)Increased

purchase costs; b) increased taxes; c) Increased finance costs; d)Increased



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insurance costs; e) Increased repair costs; f) Repurchase from its customer; g) as

well as additional costs, plus attorney’s fees.


94.   WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that this court

will award damages in an amount appropriate to compensate it for its loss of

monies, incidental and consequential damages, in an amount to be determined by

a struck jury plus attorney’s fees and costs of this proceeding.


                                  COUNT SEVEN:


 NEGLIGENT HIRING, TRAINING, SUPERVISION, AND RETENTION


95.   The preceding paragraphs of this Complaint, and any additional factual

averments set forth this Complaint, are repeated and incorporated by reference in

this Count.


96.   Defendants McClary Ford, Ardmore Auto, LaGrange Toyota, Holly

Automotive, and America’s Auto Auction owed CRM Motors a duty of care and

professionalism in training and supervising its employees and agents to perform

those services in full compliance with the laws of the State of Alabama and the

Federal government, in not engaging in or allowing its employees and agents to

engage in the wrongful practices herein alleged, in not suppressing or concealing

such activities, or enabling its agents to do so, and in terminating or otherwise


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disciplining those employees and agents known to have violated company policies,

state laws or regulations by engaging in the misconduct herein alleged, or employees

and agents known to have suppressed material information or to have made material

misrepresentations to CRM Motors.


97.   McClary Ford, Ardmore Auto, LaGrange Toyota, Holly Automotive, and

America’s Auto Auction owed duties to CRM Motors in putting forth loyal, honest,

and fair-dealing employees and agents who act in compliance with Federal and State

law, contractual, and other obligations that arise from the special or confidential

relationship between the parties, Alabama statutes and regulations governing the

automotive industry, and the duties of a designated agent for title transfers.


98.   McClary Ford, Ardmore Auto, LaGrange Toyota, Holly Automotive,

America’s Auto Auction and Peggy Ivey breached its and their duties by negligently

retaining employees and agents known to have violated state and/or Federal laws

relating to the mandatory disclosures required at the time of vehicle purchases. These

employees are known to have violated McClary Ford, Ardmore Auto, LaGrange

Toyota, Holly Automotive, and America’s Auto Auction’s stated company policies

and procedures regarding the sale of automobiles, proper transfer of titles, and

mandatory disclosures.




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99.    McClary Ford, Ardmore Auto, LaGrange Toyota, Holly Automotive, and

America’s Auto Auction’s negligent retention of employees and agents known to

have engaged in the misconduct described herein acted as ratification of such

misconduct.


100.      McClary Ford, Ardmore Auto, LaGrange Toyota, Holly Automotive, and

America’s Auto Auction, through its and their employees and agents, breached its

and their duties owed to CRM Motors, and such breaches arose out of the negligent

or wanton conduct of the Defendants, and those who acted in concert or conspiracy

with it or acted as its agents, servants or employees, and in the line and scope of its

and their business, and in carrying out its and their contractual and statutory duties,

in order to preserve, protect, and further the financial interests of Defendants.


101.      McClary Ford, Ardmore Auto, LaGrange Toyota, Holly Automotive, and

America’s Auto Auction knew, or should have known, of the wrongful or fraudulent

practices engaged in by its employees and agents, and knew, or should have known,

that its own training, supervision and retention practices were inadequate to fulfill

its obligation to protect the public from unscrupulous, dishonest, and deceptive

practices by its agents and employees.


102.      Defendants McClary Ford, Ardmore Auto, LaGrange Toyota, Holly

Automotive, and America’s Auto Auction knew, or should have known, that its

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policies and practices in training, supervising and retaining such employees were

inadequate to prevent or detect the misconduct described herein, and such inadequate

policies and practices were the actual and proximate cause of CRM Motor’s injuries

described herein.


103. CRM Motors has incurred damages proximately caused by Defendants’

breaches and negligence in training, supervising and retaining its employees. As a

proximate result of the conduct of the Defendants, CRM Motors was caused to suffer

loss of monies, incidental and consequential damages, including but not limited to:

a) Increased purchase costs; b) Increased taxes; c) Increased finance costs; d)

Increased insurance costs; e) Increased repair costs; f) Loss of value; g) As well as

additional costs, plus attorney’s fees.


104.      CRM Motors prays that the Court will award damages in an amount the

Court deems appropriate to compensate CRM Motors, for its loss of monies, and

incidental and consequential damages, in an amount to be determined by a jury, as

well as attorney’s fees and costs of this proceeding, and punitive damages to deter

such conduct in the future.


          COUNT EIGHT: REQUEST FOR INJUNCTIVE RELIEF


                                  - All Defendants -



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105.      Plaintiff incorporates by reference all of the material allegations set forth

in the above paragraphs as if fully set forth herein.


106.      Plaintiff and the general public will suffer continuing irreparable injury

unless the conduct of the Defendants alleged in the above and foregoing paragraphs

is halted, the Defendants are educated, trained, and made to comply with its duties

as a designated title agent for the State of Alabama; and comply with the laws of the

State of Alabama and the United States of America. Furthermore, the Defendants

should be enjoined to correct the disclosures on the title documents, and recall and/or

correct any false/fraudulent affidavits made on the 2008 Ford Explorer vehicle made

the basis of this suit.


                            VII. RELIEF REQUESTED


Plaintiff requests this Court enter an award against the Defendants as follows:


   1. Award Plaintiff compensatory damages, and all statutory, exemplary damages

   and equitable relief permitted by law;


   2. Award Plaintiff punitive damages as a result of the Defendants’ fraudulent,

   willful, wanton and unlawful conduct;


   3. Award Plaintiff all costs of prosecuting this action, together with interest and

   reasonable attorneys’ fees;

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